Case 2:04-cr-20485-BBD Document 48 Filed 05/23/05 Page 1 of 2 Page|D 70

Fii.§.:§ 3"'.-“' W___ r:`e.a,`,.
lN THE UN\TED STATES D|STR\CT COURT
FOR THE WESTERN DlSTRlCT OF TENNESSE}E §F;§_“i§' 23 P§“-§ §2: §"~`r
WESTERN DlV|SiON

F.

 

 

UN|TED STATES OF AMERICA

P|aintiff
VS.
CR. NO. 04-20485-D
|VIARK MERRELL
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on |Vlay 19, 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with
a report date of Thursdav. Auqust 25. 2005&9:00 a.m., in Courtroom 3, 9th F|oor of
the Federai Bui|ding, |V|emphis, TN.

The period from June 17, 2005 through September16, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional
time to prepare outweigh the need for a speedy trial.

n is so oRDERED this §§ day of May, 2005.

    

B RN|CE B. ONALD
U |TED STATES DISTRICT JUDGE

 

with Rule 55 and/or 32{5) FRCrP on

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Notice of Distribution

This notice confirms a copy of the document docketed as number 48 in
case 2:04-CR-20485 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

